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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No.13-cv-03206-WJM-KMT

   CREW TILE DISTRIBUTION, INC.,

          Plaintiff and Counterclaim Defendant,

   and

   RYAN A. DAVIS,
   DARLYNE A. DAVIS,
   GLENN L. DAVIS,
   SHANA L. BASTEMEYER,
   PARADIGM TILE & STONE DISTRIBUTORS, LLC, and
   G&D DAVIS HOLDINGS, LLC,

          Counterclaim Defendants.

   v.

   PORCELANOSA LOS ANGELES, INC.,
   PORCELANOSA NEW YORK, INC.,
   PORCELANOSA TEXAS, CORP., and
   PORVEN, LTD.,

          Defendants and Counterclaimants.

   ______________________________________________________________________________

      PLAINTIFF CREW TILE’S AND COUNTERCLAIM DEFENDANTS’ EQUITABLE
                              CLAIMS OPENING BRIEF
     ___________________________________________________________________________

          Plaintiff and Counterclaim Defendant Crew Tile Distribution, Inc. and Counterclaim

   Defendants Ryan Davis, Darlyne Davis, Glenn Davis, Shana Bastemeyer, Paradigm Tile & Stone

   Distributors, LLC, and G&D Davis Holdings, LLC (hereinafter “Crew Tile Parties”), through

   their counsel, Burg Simpson Eldredge Hersh & Jardine, P.C., submit their opening brief on

   equitable claims, pursuant to ECF No. 357:




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   I.     STATEMENT OF CREW TILE DISTRIBUTION, INC.’S EQUITABLE CLAIM

          Plaintiff Crew Tile Distribution, Inc. (“Crew Tile”) believed that it had a valid,

   enforceable contract with Porcelanosa Los Angeles, Inc. (acting on behalf of all of the United

   States Porcelanosa entities through the use of the unlawful and unregistered trade name of

   “Porcelanosa USA”) to act as its exclusive distributor in Colorado (outside of Aspen/Pitkin

   County). Porcelanosa argued at trial that no contract was ever agreed to or executed regarding

   this special relationship. After an eight-day jury trial, the jury found that Crew Tile failed to

   prove the existence of a valid and enforceable agreement between the parties.

          Crew Tile, of course, vehemently disagrees with the jury’s findings and conclusion that

   there was no valid, binding and enforceable contract between the parties. But even, for the

   purposes of this briefing, accepting the jury’s findings as correct, Plaintiff Crew Tile is still

   entitled to recover damages based on its equitable quasi-contractual claims, as follows.

          As a threshold matter, it is the Defendants’ position and the jury’s finding of no valid,

   enforceable contract that triggers the court’s consideration and determination of quasi-contract in

   equity. This court has broad equitable power to enforce promises, even those that did not rise to

   enforceable contracts, where not doing so would lead to an unjust and/or inequitable result:

          The scope of the equitable remedy of unjust enrichment is broad, “cutting across both
          contract and tort law, with its application guided by the underlying principal of avoiding
          the unjust enrichment of one party at the expense of another.” Robinson v. Colo. State
          Lottery Div., 179 P.3d 998, 1007 (Colo.2008).

   Walshe v. Zabors, Civil Action No. 15-cv-01218-MEH, 2017 U.S. Dist. LEXIS 39581, *18

   (D.Colo. Mar. 20, 2017).

          At trial, the evidence showed that Crew Tile believed it had a contract with Porcelanosa

   Los Angeles, Inc. Moreover, the principals who actually ran Porcelanosa Los Angeles, Inc. at the

   time either confirmed (Handley) or had little recollection to credibly dispute (Montilla) what the


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   contemporaneous emails and other written communications entered into evidence at trial, that

   Porcelanosa had promised to send all Colorado sales to Crew Tile as its distributor, knowing that

   in exchange Crew Tile was devoting its time, money and resources into building a market for

   Porcelanosa product in Colorado. Even though Mr. Montilla’s recollection of the discussions

   and meetings he had with Crew Tile was fleeting at trial, his emails and written communications,

   and those of Mr. Handley, from the time period in question clearly showed that Porcelanosa was

   directing the Colorado customers and dealers to Crew Tile, and clearly referred to them as their

   “distributor” in Colorado. While the evidence of the written contract was hotly disputed, the

   Defendants had no answer – other than the argument of counsel - for the evidence of these

   promises and Crew Tile’s reasonable reliance upon them during that time period.

          In fact, perhaps the most potent evidence may be what the parties actually did – how they

   actually performed – during the relevant time frame, rather than what they are saying today. The

   trial evidence shows that for approximately two full years (year end 2009 through year end 2011)

   both Crew Tile and Porcelanosa Los Angeles, Inc. performed consistent with the purported

   contract Crew Tile thought it had, and the promises Porcelanosa had made. The evidence

   showed that Crew Tile and its investors justifiably relied upon these promises to their detriment.

   Investors such as Glenn Davis contributed his 401K to the business, and Ray Perry, an outside

   investor, also put in significant amounts to build the business based upon these promises.

          For example, investor Ray Perry testified to a meeting he had with Mr. Montilla at

   Elway’s in 2010 (a meeting that is undisputed), when it had come to his attention that Handley

   had been caught selling Porcelanosa product directly to Colorado dealers and customers.

   According to Mr. Perry’s testimony under oath, Mr. Montilla was deeply apologetic as “he

   apologized a number of times that Jack had done this, said that he was sorry and that it would




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   discontinue.” See Trial Transcript 234:3-234:14. Mr. Perry testified that “Mr. Montilla was

   apologizing that Jack had sold product and had been in contact with dealers that we sold to, as

   well as clients that were spec’ing deals for” and Mr. Montilla assured him that “he was going to

   stop it.” Id. at 234:21-235:4. Ray Perry testified that he believed Montilla when he re-affirmed

   that promise. Id. at 235:5-6. Therefore, it was not only the initial promise but the subsequent

   assurances and re-assurances that Porcelanosa was committed to those promises, i.e. not selling

   around Crew Tile, that Crew Tile reasonably relied upon in spending money, time and effort to

   build Porcelanosa a marketplace.1

           The trial evidence also showed that Crew Tile’s performance, based upon those promises,

   successfully promoted and built out a marketplace and dealer network for the sale of Porcelanosa

   product in Colorado. Porcelanosa financially benefitted immensely as a result of Crew Tile’s

   work, and today is enjoying a windfall for themselves at the expense of Crew Tile.

           The trial evidence shows that beginning in 2012, contrary to the promises Porcelanosa

   had made earlier to induce Crew Tile to help build out its Colorado market -- and without Crew

   Tile’s knowledge -- Porcelanosa began to sell around Crew Tile and directly to the Colorado

   marketplace and directly to the same network of dealers that had previously been directed to

   Crew Tile consistent with their prior promises. In fact, the evidence at trial showed that

   Porcelanosa concealed this misconduct, and instead assured Crew Tile they were still honoring

   their promises to ensure that Crew Tile would continue to do the groundwork that would benefit

   Porcelanosa in the end. The trial evidence was also clear that by denying Crew Tile the cash

   flow of the Colorado sales Porcelanosa should have routed through Crew Tile if they had

   1
    See also Plaintiff’s Trial Exhibit 87, dated May 3, 2011 which shows Colorado Ceramics, a hold-out Colorado
   dealer who had still been buying direct from Porcelanosa being brought in line to buy only through Crew Tile, as
   Porcelanosa had promised and continued to re-affirm.




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   honored their promises, Crew Tile suffered significant and substantial financial difficulties.

   Ironically, Defendants then used the very financial difficulties that Defendants’ wrongful

   conduct created, to argue to the jury as a basis to reject the contract claim. By saying one thing

   and doing another – promising to send Crew Tile its Colorado business, but instead keeping it for

   themselves, Porcelanosa wrongfully enriched themselves at Crew Tile and its investors’ expense.

           As the trial evidence showed, it was not until April 2013, when Porcelanosa executed

   “Operation Shut Down Denver”, that Porcelanosa finally disclosed that they were no longer

   going to honor their promises (promises they had already secretly broken) to Crew Tile. It was

   not until April 2013 that Porcelanosa disclosed their intent to open their own showroom, and to

   compete directly with Crew Tile in Colorado. In April 2013, the illusion Porcelanosa had created

   for Crew Tile through their false promises was over. Crew Tile objected, but, ultimately, at the

   end of 2013, Porcelanosa opened their own showroom and began competing directly with Crew

   Tile.

           Crew Tile thought they had a written contract to protect them. The jury determined they

   didn’t. Porcelanosa believes that finding on the contract ends the inquiry and now asks this

   Court to allow them to run “scot free” from their own bad conduct, from the promises they

   broken in secret, and the harm they caused to Crew Tile and its investors as a result.

           The evidence at trial established that beginning around the beginning of 2012 through the

   opening of their own showroom in Colorado in late 2013, Porcelanosa made almost a million

   dollars of direct sales into Colorado. All during the time period when they had Crew Tile

   operating based upon the promise and the premise that all Colorado sales would be directed to

   them. It is unjust and inequitable to allow Porcelanosa to retain those monies - which they enjoy

   as a windfall - to Crew Tile’s and its investors’ detriment.




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          Crew Tile anticipates that the Defendants will attempt to argue “unclean hands” as a

   defense, continuing the character assassination of the Davis family which was the repeated thrust

   of Defendants’ attacks at trial. However, this argument misses the mark as to the equitable

   claims belonging to Crew Tile vis-à-vis the promises made by Porcelanosa Los Angeles and the

   three-plus years of service Crew Tile gave Porcelanosa in reasonable reliance upon those

   promises. As the Colorado Supreme Court has held:

          Generally, "one who comes into equity must come with clean hands." Dan B. Dobbs,
          Law of Remedies § 2.4(2) (2d ed. 1993). The principal derives from the concept that one
          who seeks equity must do equity. See id. Many different forms of improper conduct may
          bar a plaintiff's equitable claim, and the conduct need not be illegal. See id. Generally,
          courts apply this doctrine only when a plaintiff's improper conduct relates in some
          significant way to the claim he now asserts. See id. Otherwise, only those leading
          pristine and blameless lives would ever be entitled to equitable relief. See id.


    Salzman v. Bachrach, 996 P.2d 1263, 1269 (Colo. 2000). (Emphasis Added).

          Here, as to the quasi-contractual relationship being asserted, the claim concerns the

   specific relationship between the parties during a specific period of time that pre-dates the

   alleged conduct found by the jury against Ryan and Darlyne Davis. The trial evidence shows that

   at all times during the pendency of that relationship (2009-2013), Crew Tile was acting equitably

   and in good faith with Porcelanosa. It was Porcelanosa who was not.

          The jury’s findings implying potential wrongful conduct by individual counter-claim

   defendants Ryan Davis and Darlyne Davis occurred, based upon the evidence and argument of

   Defense Counsel, only AFTER the quasi-contractual relationship between the parties ended in

   April 2013. And in fact, to the extent of what impact that subsequent alleged bad conduct had,

   the jury resolved that issue and that claim related thereto in its verdict. Plaintiff Crew Tile -

   which is a separate corporate entity with investors, creditors and other interested parties who

   were never implicated with any bad conduct - should not be punished based upon the conduct of



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   individuals occurring outside the time period of the quasi-contractual relationship, after that

   relationship had ended, and having no bearing on the quasi-contractual relationship during its

   pendency.

          It would be inequitable and unjust to allow Porcelanosa Los Angeles, Inc. to have

   induced Crew Tile and its investors to commit monies (including Glenn Davis’s retirement

   savings), time, and resources to build a market platform in Colorado for so Porcelanosa could

   step in to Colorado as a “turn-key” marketplace instead of one they needed to build from the

   ground up – based upon broken promises that Porcelanosa was directing all of its sales to Crew

   Tile in Colorado when it turns out they were not. It would be inequitable and unjust for

   Porcelanosa to capitalize upon the platform that Crew Tile built for them, where the facts at trial

   showed that, unbeknownst to Crew Tile, Porcelanosa had instead been selling around Crew Tile

   and direct to Colorado dealers and concealed that fact from Crew Tile until they were ready to

   come in and reap the benefit of Crew Tile’s and its investors’ efforts.

          Porcelanosa is now celebrating “victory” over having duped Crew Tile into building them

   a Colorado platform and marketplace that now generates millions of dollars in revenue for them,

   without having to pay for it. Justice and equity abhor a windfall, especially for deceptive and

   wrongful conduct. For these reasons, Crew Tile respectfully requests that the Court consider

   exercising its equitable powers to correct this injustice and hold Porcelanosa Los Angeles, Inc.

   accountable for its wrongful conduct, as shown through the evidence at trial.


   II.    THE CREW TILE PARTIES’ PROPOSED FINDINGS OF FACT

   Testimony from Shana Bastemeyer

   1.     Crew Tile was a tile distributor for Porcelanosa, responsible for creating the Colorado

   marketplace and working with flooring dealers. See Trial Trans. 43:12 – 25.


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   2.     When Shana Bastemeyer joined Crew Tile in 2012, there was a lot of sales momentum

   being built with Porcelanosa. Id. at 47:7 – 13.

   3.     Crew Tile was responsible for providing local dealers with samples and pricing for

   Porcelanosa’s products, and brokering the resulting tile transactions with Porcelanosa. Id. at

   50:23 – 51:18, 52:19 – 53:8; see Pltf. Ex. 227.

   4.     Crew Tile was responsible for providing dealers with Porcelanosa’s displays, obtaining

   current product samples for the displays, and ensuring that dealers had product knowledge. See

   Trial Trans. 53:16 – 23, 54:20 – 56:13.

   5.     Porcelanosa did not have an office in Colorado or any sales; therefore, Crew Tile

   believed they had an agreement to be responsible for getting the product into the marketplace to

   grow sales and increase Porcelanosa’s market share. Id. at 53:24 – 54:6, 56:14 – 24.

   6.     Crew Tile was responsible for all of the expenses associated with growing the market

   share for Porcelanosa’s product in Colorado. Id. at 56:24 – 25.

   7.      Crew Tile had a dealer network of approximately 75 to 100 dealers in Colorado. Id. at

   57:6 – 8; see Pltf. Ex. 227.

   8.     Porcelanosa made money on every sale that Crew Tile made because Crew Tile was

   absorbing the expense of the sales staff, the samples, the displays, and the showroom. See Trial

   Trans. 62:15 – 63:4.

   9.     Porcelanosa was actively supporting and encouraging Crew Tile’s efforts in order to gain

   additional market exposure and to grow the Colorado sales market. Id. at 65:4 – 17.

   10.    As of 2012, the business relationship between Crew Tile and Porcelanosa was going well,

   with sales coming in and new projects being registered for future sales. Id. at 66:17 – 68:3;

   70:10 – 14.




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   11.    On April 10, 2013, Porcelanosa’s General Manager Francisco “Paco” Montilla

   announced to Crew Tile that Porcelanosa would be taking over the Colorado territory,

   nicknamed by Porcelanosa as “operation shutdown.” Id. at 82:11 – 23; see Pltf. Ex. 135.

   12.    In April 2013, Crew Tile’s sales were still increasing, job registrations were continuing to

   be sent to Porcelanosa, and lot of momentum was going. See Trial Trans. 85:14 – 22.

   13.    During the summer of 2013, Porcelanosa stopped providing samples, product, and pricing

   to Crew Tile, and kept the job registrations that Crew Tile had worked to obtain, including the

   Denver International Airport project. Id. at 96:5 – 97:12; see Pltf. Exhibits 172 & 174.

   Testimony from Ray Perry

   14.    A lunch meeting took place on December 14, 2009, in Denver, attended by Ryan Davis

   (of Crew Tile), Paco Montilla and Jack Handley (of Porcelanosa), and potential investor Ray

   Perry. See Trial Trans. 227:23 – 228:5.

   15.    At that meeting, Mr. Montilla referred to Mr. Davis as “our guy” numerous times, and

   expressed enthusiasm about the opportunity to grow Porcelanosa’s business in Colorado. Id. at

   228:6 – 23; 274:16 – 19.

   16.    At a lunch meeting in 2010, Mr. Montilla apologized that they had been selling around

   Crew Tile to its dealers direct, and promised it would stop and that it wouldn’t happen again. Id.

   at 234:3 – 235:6.

   Testimony from Ryan Davis

   17.    In August 2009, Crew Tile began promoting Porcelanosa’s products in Colorado and

   asked permission to use Porcelanosa’s branding in Crew Tile’s advertising materials. Id. at

   314:10 – 315:9; see Pltf. Ex. 23.




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    18.     By September 2009, Crew Tile provided Porcelanosa with a status update explaining the

    progress that had already been made in growing market share. See Trial Trans. 318:6 – 24; see

    Pltf. Ex. 28.

    19.     In October 2009, Crew Tile provided Porcelanosa with a list of 142 of Crew Tile’s

    customers that had already been contacted to promote Porcelanosa’s product. See Trial Trans.

    322:9 – 323:1; see Pltf. Ex. 31.

    20.     In October 2009, Crew believed Porcelanosa had agreed to refer business that came from

    the Colorado territory to Crew Tile. See Trial Trans. 325:6 – 24.

    21.     As of October 2009, Crew Tile was Porcelanosa’s “local distributor covering the Denver

    market.” See Pltf. Ex. 38.

    22.     Crew Tile believed that part of the agreement between Crew Tile and Porcelanosa was

    that Crew Tile would not do business in the Aspen/Pitkin County area. See Trial Trans. 327:22 –

    25; see Pltf. Ex. 39.

    23.     From 2009 through 2011, the housing market was rebounding and Crew Tile’s sales of

    Porcelanosa products was picking up. See Trial Trans. 387:15 – 388:3; see Pltf. Ex. 233.

    24.     By year 2012, Porcelanosa’s sales into Colorado were over $900k, as compared to $132k

    in 2009. See Pltf. Exhibits 11 & 233.

    25.     The large increase in sales in 2012 is attributed to the hard work of Crew Tile. See Trial

    Trans. 391:9 – 16.

    26.     In late 2009, prior to agreement Crew Tile believed it had with Porcelanosa, the majority

    of the sales of Porcelanosa products in Colorado were not made through Crew Tile. See Pltf.

    Exhibits 11 & 225; Trial Trans. 391:18 – 392:5.




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    27.     In late 2009 after Crew believed an agreement had been reached, the vast majority of the

    sales in Colorado were made through Crew Tile. See Pltf. Exhibits 11 & 225; Trial Trans. 392:7

    – 25.

    28.     As of December 2010, Crew Tile had “shown excellent results in a short amount of

    time,” with “$130k in sales since May 2010.” See Pltf. Ex. 77, p. 4.

    29.     As of December 2010, Crew Tile and Porcelanosa targeted “a great 2011 expansion and

    sales year.” Id. at 6.

    30.     As of September 2011, Porcelanosa was continuing to support Crew Tile’s “efforts there

    in Denver as we have agreed.” See Pltf. Ex. 94, p. 1.

    31.     By early 2012, Crew Tile believed they had agreed to a sales goal of $500k of

    Porcelanosa products because the market was growing and sales were improving. See Trial

    Trans. 395:11 – 24; Pltf. Ex. 98.

    32.     In 2012, Porcelanosa protected Crew Tile’s existing project specifications. See Pltf.

    Exhibits 110 & 118.

    33.     In 2012, Porcelanosa continued to refer customer inquiries to Crew Tile, consistent with

    the agreement Crew believed it had. See Trial Trans. 401:16 – 402:5; Pltf. Ex. 229.

    34.     The expansion project at Denver International airport was specified by Crew Tile,

    through Gensler Architects. See Pltf. Ex. 118; Trial Trans. 406:6 – 13, 408:1 – 3, 409:15 – 24.

    35.     As of June 2013, Porcelanosa had already informed Crew Tile that Porcelanosa would be

    taking over the Colorado market, yet was “still trying to keep [Crew Tile] selling until we get

    there.” See Pltf. Ex. 150; see Trial Trans. 436:16 – 438:17.

    36.     On October 31, 2013, Porcelanosa sent a letter to all of Crew Tile’s customers informing

    them to buy product directly from Porcelanosa. See Pltf. Ex. 159.




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    37.    Eventually, Porcelanosa took all of Crew Tile’s customers. See Trial Trans. 443:10 – 16,

    444:12 – 14.

    38.    On January 7, 2014, Porcelanosa informed Crew Tile that Porcelanosa would no longer

    be providing any product to Crew Tile, and denied any responsibility for future losses that Crew

    Tile would incur for loss of pending sales, and loss of the market share. Id. at 445:1 – 6; 446:18

    – 448:8; see Pltf. Ex. 170.

    39.    After cutting off Crew Tile, Porcelanosa opened a showroom in Denver and began calling

    on all of Crew Tile’s former customers. See Trial Trans. 450:8 – 14.

    40.    On January 27, 2017, Crew Tile was informed by one of its customers that Porcelanosa

    was instructing him to order directly for the Denver International Airport project, despite the fact

    that Crew Tile had registered the specification. Id. at 453:3 – 455:13; see Pltf. Ex. 174.

    Testimony from Jack Handley

    41.    In the fall of 2009, Porcelanosa did not have any offices or its own employees in

    Colorado. See Trial Trans. 695:24 – 696:10.

    42.    Porcelanosa wanted Crew Tile to promote Porcelanosa product and develop a strong

    presence in Colorado. Id. at 696:11 – 18.

    43.    During an in-person meeting on December 14, 2009, Porcelanosa promised it would

    provide sales leads to Crew Tile for the Colorado area excluding Aspen/Pitkin County.         Id. at

    698:22 – 25, 700:18 – 701:20, 712:1 – 4.

    44.    There was a benefit to Porcelanosa in having Crew Tile build a showroom and provide

    employees to develop the market for Porcelanosa products in Colorado, especially during a time

    period of economic downturn. Id. at 704:19 – 705:11.




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    45.    Porcelanosa knew that Crew Tile was paying for the showroom, and the purpose of the

    showroom was to showcase Porcelanosa products. Id. at 716:13 – 17.

    46.    Porcelanosa knew that Crew Tile was selling to dealers in Colorado. Id. at 717:16 – 18.

    47.    Porcelanosa knew that Crew Tile’s markup to dealers was 20% - 30%. See Pltf. Ex. 51.

    48.    Porcelanosa felt the Crew Tile was moving in the right direction and meeting

    performance expectations. See Trial Trans. 722:12 – 723:3.

    49.    Porcelanosa product is high quality luxury tile with few, if any, peers. Id. at 724:2 – 9.

    50.    Whenever Crew Tile was able to find a customer, it was good for Porcelanosa because it

    would make money. Id. at 730:9 – 19.

    51.    Porcelanosa knew that Crew Tile was buying displays and buying product to put into

    dealers’ showrooms to help sell and promote Porcelanosa’s products so Porcelanosa could make

    money. Id. at 730:24 – 731:3.

    52.    Porcelanosa wanted to have personal contact with the customers. Id. at 856:11 – 19.

    53.    A project registration exists to protect the specifier so when the job goes through, the

    manufacturer knows whose efforts are to be rewarded. Id. at 886:13 – 23, 887:2 – 10.

    Testimony of Darlyne Davis

    54.    Crew Tile spent approximately $80k - $100k to build a showroom for Porcelanosa. Id. at

    944:17 – 945:1.

    55.    Crew Tile specified the Denver International Airport (“DIA”) expansion project, but did

    not get paid anything by Porcelanosa for it. Id. at 968:2 – 7.

    56.    The October 31, 2013, letter from Porcelanosa instructing Crew Tile’s customers to buy

    direct was sent to the dealers that Crew Tile has spent 2.5 to 3 years establishing, and that

    reduced Crew Tile’s business to zero. Id. at 969:13 – 970:4.




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    57.    After October 2013, Porcelanosa did not honor Crew Tile’s registrations on existing

    projects. Id. at 970:6 – 12.

    Testimony of Francisco Montilla Soto

    58.    Porcelanosa was happy with the buildup in sales in Colorado through 2012 because the

    more that was sold, the better it was for Porcelanosa. Id. at 1155:20 – 1156:3.

    59.    It was the policy of Porcelanosa that if Crew Tile was the specifier of a project, then

    Crew Tile would be paid on that project. Id. at 1160:7 – 18; see Pltf. Ex. 118.

    Testimony from Steven Hazel

    60.    Lost profits are the lost sales over and above the actual sales, less saved expenses. See

    Trial Trans. 1273:7 – 18.

    61.    Crew Tile’s owners invested approximately $500k into the business. Id. at 1275:19 –

    1276:10; see Pltf. Ex. 226.

    62.    Product sales to Crew Tile effectively ceased in 2014. Id. at 1281:11 – 14.

    63.    Based on Porcelanosa’s sales data, there was an active decision by Porcelanosa to cut

    Crew Tile out in late 2013 and early 2014. Id. at 1281:24 – 1282:8.

    64.    In calculating lost profits for Crew Tile, the sales data from Porcelanosa was compared

    with the sales data from Crew Tile, since Crew Tile does not get the benefit of sales they already

    did in the lost profit calculation. Id. at 1286:3 – 24.

    65.    If there had been no interference with Crew Tile’s sales by Porcelanosa, Crew Tile would

    have turned a profit. Id. at 1288:8 – 10.

    66.    The lost profits of Crew Tile range from $400k to $800k. Id. at 1298:21 – 1299:3.

    67.    The business valuation of Crew Tile ranged from $274k to $1M. Id. at 1299:4 – 5.




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    68.    The calculations performed by Mr. Hazel would not necessarily change if the Distributor

    Agreement Crew Tile believed it had was not in effect because the facts would not change. Id. at

    1301:11 – 1302:2.

    69.    Crew Tile has intangible value. Id. at 1318:25 – 1319:3.

    Testimony of Glenn Davis

    70.    During the first few year of Crew Tile, business was growing, and then in 2012 it took a

    huge jump. Id. at 1376:22 – 1377:4.

    71.    After being informed that Porcelanosa would be opening its own Colorado showroom,

    Crew Tile looked into potentially selling another product, but it would be a big change. Id. at

    1380:7 – 21.

    72.    Because Porcelanosa product did not have competitors, that led to the big jump in sales.

    Id. at 1381:1 – 6.

    73.    After the October 2013 letter from Porcelanosa to Crew Tile’s customers telling them to

    buy direct, Crew Tile could not get product to fill orders. Id. at 1381:9 – 14, 1382:1 – 4.

    74.    Porcelanosa built a showroom in the Denver Design Center where Crew Tile had been

    previously. Id. at 1442:4 – 10.

    Testimony from Barbara Mabary

    75.    Porcelanosa still has a showroom open in the Denver Design Center. Id. at 1599:8 – 10.

    Testimony from Manuel Prior

    76.    Porcelanosa’s sales in the United States were going down through 2008 and 2009, and

    the company was losing a lot of money. Id. at 1756:14 – 19.

    77.    Sales have been growing at “very solid double digit” growth from 2010 through the

    present day. Id. at 1757:3 – 10.




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    78.     When Porcelanosa opened its showroom at the Denver Design Center, it did not want to

    compete with anyone. Id. at 1795:19 – 23.

    79.     Porcelanosa does not dispute that the list of dealers on Exhibit 227 are customers of Crew

    Tile. Id. at 1802:22 – 25; see Pltf. Ex. 227.

    Testimony from Patrick McFarlen

    80.     Mr. McFarlen was not retained by Porcelanosa to provide any opinions about Crew Tile’s

    damages, so he cannot refute any opinions about damages offered by Steven Hazel. Id. at 2084:7

    – 15.

    81.     Porcelanosa is luxury tile that was used at the Denver International Airport (“DIA”). Id.

    at 2087:20 – 25.

    82.     Mr. McFarlen did not have any of Porcelanosa’s sales data, so he could not have

    considered any of the direct sales being made by Porcelanosa from 2012 when evaluating Crew

    Tile. Id. at 2092:2 – 7.

    83.     If Porcelanosa was unwilling to supply product to Crew Tile, it would have a negative

    effect on Crew Tile’s operations. Id. at 2095:18 – 22.

    84.     If Porcelanosa began directing Crew Tile’s customers to buy directly from Porcelanosa in

    2013, it would have a negative overall impact on the valuation of Crew Tile. Id. at 2096:9 – 13.

    85.     If Porcelanosa decided to cut off all products to Crew Tile in January 2014, it would have

    a really big negative impact on the valuation of Crew Tile. Id. at 2096:14 – 17.

    86.     Mr. McFarlen did not analyze at all what impact on Crew Tile’s profitability occurred

    when Porcelanosa began to sell direct and compete in 2012 and 2013. Id. at 2100:14 – 20.




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    III.   ARGUMENT

          A.    This Court Should Balance the Equities, Divest the Defendants of the
    Windfall they Enjoy from their Wrongful Conduct, and Provide Some Reasonable
    Compensation to Crew Tile.

           To recover for unjust enrichment or quantum meruit, a plaintiff must demonstrate that:

    (1) at plaintiff's expense; (2) defendant received a benefit; (3) under circumstances that would

    make it unjust for defendant to retain the benefit without paying. See Dudding v. Norton Frickey

    & Assocs., 11 P.3d 441, 445 (Colo. 2000) (quantum meruit); See Martinez v. Colo. Dep't of

    Human Servs., 97 P.3d 152, 159 (Colo. App. 2003) (unjust enrichment). Unjust enrichment is a

    “legal claim in quasi-contract for money damages based upon principles of restitution.” DCB

    Constr. Co. v. Central City Dev. Co., 965 P.2d 115, 118 (Colo. 1998). “If the elements of unjust

    enrichment are established, the party who has received the benefit is ordinarily required to make

    restitution in the amount of enrichment received.” Redd Iron, Inc. v. Int’l Sales & Servs. Corp.,

    200 P.3d 1133, 1136 (Colo. App. 2008). “The scope of the remedy for unjust enrichment is

    broad, cutting across both contract and tort law, with its application guided by the underlying

    principle of avoiding the unjust enrichment of one party at the expense of another.” Univ. of

    Colo. Found., Inc. v. Am. Cyanamid Co., 974 F. Supp. 1339, 1358 (D. Colo. 1997).

           B.     Crew Tile Has Met its Burden on its Equitable Claims.

           Crew Tile is entitled to recover under a theory of unjust enrichment because Porcelanosa

    received a benefit at Crew Tile’s expense under circumstances that would make it unjust for

    Porcelanosa to retain the benefit without paying. See DCB Constr. Co., 965 P.2d at 119. Here,

    the benefit that Porcelanosa received was establishment of a platform for sales of its product in

    Colorado and significant growth in the market for its products in Colorado during the four years

    period when Crew Tile worked to create the market from scratch.




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            Here, Crew Tile spent approximately $500k of its own money to establish and run the

    business for a period of over four years. Crew Tile’s business was to promote Porcelanosa’s

    product in the Colorado market. Prior to 2009, Porcelanosa had no direct sales presence in

    Colorado.    Until Crew Tile came along in 2009, Porcelanosa had no showroom, no local

    employees, and no local sales force. At its own expense, Crew Tile built a showroom to display

    Porcelanosa’s products at the Denver Design Center.           Crew Tile paid the rent, and also

    purchased products from Porcelanosa in order to fill the showroom displays.

            There was also a benefit to Porcelanosa in having Crew Tile build a showroom and

    provide employees to develop the market for Porcelanosa products in Colorado, especially

    during a time period of economic downturn in 2009. In addition to the showroom, Crew Tile

    paid for dozens of display racks that Porcelanosa knew were being placed in tile dealer stores

    around Colorado.       Crew Tile provided its own employees, at its expense, to market

    Porcelanosa’s products, educate dealers about the products, build a dealer network, promote

    sales, and service the display racks.        There is no dispute that Plaintiff Crew Tile bore the

    financial burden of the expenses associated with its business operations.

       C.       Appropriate Considerations for Equitable Damages Include 1) the Amount
                Crew Tile Spent to Create the Market, 2) the Lost Profits that Crew Tile would
                have Otherwise Received, and 3) Crew Tile’s Standard Markup.

            As damages, Crew Tile does not seek anything for the sales in which Crew Tile already

    participated in between 2009 and 2013.         However, Crew Tile should be compensated for the

    sales that Crew Tile did not participate in, both before Crew Tile was put out of business and the

    prospective sales that it lost afterwards.

            It is undisputed that Crew Tile spent approximately $500k of its own money to establish

    the Colorado marketplace for Porcelanosa products. These monies were primarily contributed




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    by investments of Glenn Davis’s retirement account, and a $50,000 investment from Ray Perry,

    individuals whose conduct, based upon the trial record, is not in question. Crew Tile used this

    money to rent showroom space, pay sales staff, buy display racks, and distribute the product to

    customers.    Had Crew Tile not spent its own money to provide these services, Porcelanosa

    would have needed to do so at its own expense.        Since the end result was Porcelanosa taking

    over the entire market, a fair way to evaluate the financial benefit of that market is to equate it to

    the amount of money Crew Tile was required to spend to create it. Accordingly, the value of the

    Colorado market for Porcelanosa products can be fairly evaluated at $500k.

           Another method for evaluation of damages is the loss of prospective customers to another

    company that put in “virtually no expenditure of time, effort or expense” to obtain the customers’

    information can result in unjust enrichment. See Rain Bird Corp. v. Nat'l Pump Co., 2003 U.S.

    Dist. LEXIS 26792, *60-61 (N.D. Miss. Dec. 23, 2003).          Here, the prospective customers are

    those that Crew Tile developed over several years while acting as the sales force for Porcelanosa

    in Colorado between 2009 and 2014. Porcelanosa promised Crew Tile it would direct its

    Colorado business (outside Aspen/Pitkin County) to Crew Tile and from email evidence at trial

    knew that Crew Tile’s profit margin was based upon a 20% - 30% markup on the products.

    After Crew Tile’s customers were directed to buy product from Porcelanosa in October 2013,

    Crew Tile no longer was able to receive its markup since its customers were now buying direct.

           Through its expert Steve Hazel, Crew Tile provided evidence at trial that its lost profits

    for direct sales taken by Porcelanosa were between $400k and $800k. This calculation was

    irrespective of the existence of a written contract, and was merely a calculation of the profits that

    Crew Tile would have received if the Colorado sales had through Crew Tile as they had in 2009,

    2010, and 2011. Defendant’s financial expert Patrick McFarlen did not compute lost profits, so




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    Mr. Hazel’s figures are unrefuted. In essence, through its wrongful conduct, Porcelanosa cut out

    its middle man, so Porcelanosa was able to reap both the profit that it would have otherwise

    made, and also keep the profit that Crew Tile should have made.

           The lost profit calculation provided by Mr. Hazel was based on a time period through

    December 2014. This time period is appropriate for Crew Tile’s claim of unjust enrichment, as

    Crew Tile was cut out in January 2014, so the calculation extends for another eleven months. It

    is undisputed that Porcelanosa’s product was luxury, with few if any competitors in Colorado. If

    Crew Tile was to shift to a different luxury product line, it would have taken at least a year to

    build a sales market from scratch for that new product, much like it had already done for

    Porcelanosa. In fact, it took Crew Tile approximately three years to build the market for

    Porcelanosa product in Colorado, so consideration of only eleven months of profits after Crew

    Tile was cut out is a very conservative approach.

           Another valuation method is to look at the benefit Porcelanosa received is the markup

    that it was no longer paying Crew Tile for Colorado sales. By cutting out the middle man,

    Porcelanosa was able to keep all of the profit margin for itself. The evidence shows that

    Porcelanosa achieved sales of $971k in Colorado in 2014. See Pltf. Ex. 11, p. 2. Based on the

    20% - 30% markup that Crew Tile should have received on these sales, but instead was retained

    by Porcelanosa, the benefit was in the range of $194k to $291k. Since Crew Tile was no longer

    there to take its 20% - 30% markup, Porcelanosa kept it on each sale that was taken from Crew

    Tile. An award of this nature would be consistent with the evidence that Crew Tile’s customers

    felt that Crew Tile should receive some benefit from the work it put in, but would not receive

    after Porcelanosa took all of the business. See Pltf. Ex. 174 (“maybe they can pay you a fee or

    something???”).




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    IV.    CONCLUSION

           Under the circumstances of this case, an equitable award of damage to Crew Tile is

    appropriate. Porcelanosa should not be allowed to reap the ongoing benefits of the Colorado

    market that Crew Tile built without some compensation to Crew Tile.



           WHEREFORE, Plaintiff respectfully requests that the Court find in favor of Crew Tile

    on its equitable claims for unjust enrichment and quantum meruit, and that the Court award

    damages as it finds appropriate.


           DATED this the 26th day of May, 2017.

                                               /s/ David J. Crough____________________
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 26th day of May 2017, a true copy of the foregoing
    PLAINTIFF’S AND COUNTERCLAIM DEFENDANTS’ EQUITABLE CLAIMS
    OPENING BRIEF has been served on the following by electronic mail:

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                                                  /s/ Amy Florendo




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